                                                                 (SPACE BELOW FOR FILING STAMP ONLY)
      Case 1:06-cr-00059-AWI Document 525 Filed 12/03/09 Page 1 of 2


 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2            2445 Capitol Street, Suite 150
                  FRESNO, CA 93721
 3               PHONE (559) 233-2900
                   FAX (559) 485-3852
 4
 5     ATTORNEYS FOR Defendant
            DANIEL ANGULO
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10                                             * * * * * * * *
11   UNITED STATES OF AMERICA,                         Case No.: 1:06 CR 00059 AWI
12               Plaintiff,
                                                             STIPULATION RE:
13         vs.                                         CONTINUANCE OF SENTENCING
14   DANIEL ANGULO,                                                  And
15               Defendant.                                      O R D E R
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18          IT IS HEREBY STIPULATED by and between counsel for the
19   parties herein, that the Sentencing in the above matter currently
20   scheduled on Monday, December 7, 2009, at l:30 p.m., in the
21   above-entitled court, be continued to Monday, January 11, 2010,
22   at l:30 p.m.
23          In addition to several other pending matters, counsel for
24   Defendant has a trial scheduled to begin on December 7, 2009, in
25   the matter of People vs. Aquino.                  Counsel has been preparing for
26   this trial which is expected to last for one (l) week.                             Further,
27   counsel has a trial in Santa Clara County in the matter of People
28   vs. Gregory, commencing on December l4, 2009.
      Case 1:06-cr-00059-AWI Document 525 Filed 12/03/09 Page 2 of 2


 1             Counsel’s office has conferred with Assistant United
 2   States Attorney, Karen Escobar, who has no objection to this
 3   continuance.        The January 11, 2009, was suggested by Ms. Escobar
 4   since she shall be on leave the end of December, 2009.
 5             DATED: December 2, 2009.
 6                                        Respectfully submitted,
 7                                        NUTTALL & COLEMAN
 8
 9                                        By: /s/ ROGER T. NUTTALL
10                                            ROGER T. NUTTALL
                                              Attorneys for Defendant
11                                            DANIEL ANGULO
12
13            DATED: December 2, 2009.

14                                              /s/ KAREN ESCOBAR
                                               _______________________
15                                             KAREN ESCOBAR
                                               Assistant U. S. Attorney
16
17                                  ***********
18
19                                   O R D E R
20
     IT IS SO ORDERED.
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22
     Dated:     December 3, 2009               /s/ Anthony W. Ishii
23   0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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